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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


 FREDRIC N. ESHELMAN,

             Plaintiff,
                                                         Case No. 4:20-cv-04034
 v.
                                                         JURY DEMANDED
 TRUE THE VOTE, INC.,

             Defendant.


                                      VERIFIED COMPLAINT


            For his Verified Complaint, Plaintiff Fredric N. Eshelman alleges as follows:

                                                 PARTIES

      1.       Plaintiff Fredric N. Eshelman is a citizen of the United States who is a resident of, and

domiciled in, North Carolina.

      2.       Upon information and belief, Defendant True the Vote, Inc., is a 501(c)(3) not-for-

profit corporation organized under the laws of Texas with its headquarters and principal place of

business in Houston, Texas. Defendant may be served through its registered agent, Catherine E.

Engelbrecht, at 7232 Wynnwood Lane, Houston, Texas 77008-6041, or wherever Defendant’s

registered agent may be found.

                                       JURISDICTION AND VENUE

      3.       The Court has subject-matter jurisdiction over this matter under 28 U.S.C. § 1332

because the parties are diverse and the amount in controversy exceeds $75,000. Plaintiff is a citizen

of North Carolina and Defendant is a citizen of Texas. Plaintiff seeks return of more than $2.5




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million in conditional gifts to Defendant in addition to contractual and economic damages,

attorney’s fees, and other declarative and equitable relief.

   4.       Venue is proper in this district under 28 U.S.C. § 1391(b) because Defendant is

organized under Texas law and maintains its headquarters and principal place of business in

Houston, Texas.

                                                   FACTS

   5.       Immediately after the November 3rd general election, Plaintiff decided to support

efforts to investigate allegations of illegal and fraudulent conduct in connection with the 2020

general election.

   6.       Defendant holds itself out on its website as “the country’s largest voters’ rights

organization” and notes that it is “well known for [its] ability to lead national unified plans to

protect election integrity.” In describing its mission, Defendant describes its operations as “a

network hub, working together with other organizations to implement targeted election integrity

initiatives to expose and deter election fraud.”

   7.       On or around November 4th and November 5th, Plaintiff spoke with Defendant’s

President, Ms. Engelbrecht, about Defendant’s Validate the Vote 2020 project.

   8.       During those conversations, Ms. Engelbrecht represented to Plaintiff that Defendant

had organized its Validate the Vote 2020 effort to ensure the 2020 election returns reflect one vote

cast by one eligible voter and thereby protect the right to vote and the integrity of the election.

   9.       Ms. Engelbrecht further represented to Plaintiff during those conversations that

Defendant believed those efforts were necessary in light of significant evidence that there were

numerous instances of illegal ballots being cast and counted in the 2020 general election.

   10.      Ms. Engelbrecht explained to Plaintiff that Defendant had developed a multi-pronged

plan (referred to as its Validate the Vote 2020 initiative) to investigate, litigate, and expose
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suspected illegal balloting and fraud in the 2020 general election. As part of its Validate the Vote

2020 plan, Defendant intended to: (1) solicit whistleblower testimonies from those impacted or

involved in election fraud; (2) build public momentum through broad publicity; (3) galvanize

Republican legislative support in key states; (4) aggregate and analyze data to identify patterns of

election subversion; and (5) file lawsuits in federal court with capacity to be heard by the Supreme

Court of the United States.1

    11.      With respect to its plan to file lawsuits in key states, Ms. Engelbrecht represented that

Jim Bopp—an attorney affiliated with Defendant—would file lawsuits in the seven closest

battleground states with an eye toward serving subpoenas on state election officials to produce

relevant election data.

    12.      Based upon data subpoenaed in those seven proposed lawsuits, Ms. Engelbrecht

represented to Plaintiff that Defendant then intended to undertake sophisticated data modeling and

statistical analysis to identify potential illegal or fraudulent balloting.

    13.      Ms. Engelbrecht advised Plaintiff that the expected cost of the Validate the Vote effort

would be $7,325,000. Based upon information and belief, that amount was well in excess of

Defendant’s 2019 budget, which Plaintiff understands was approximately $750,000.

    14.      Based upon Ms. Engelbrecht’s representations regarding Defendant’s comprehensive

plans to investigate, litigate, and publicize illegal balloting and other election fraud as part of its

Validate the Vote 2020 efforts, Plaintiff agreed to give an initial gift of $2 million to Defendant

on the condition that the funds would be used to fund the initial stages of the Validate the Vote

project. Specifically, $1 million of that initial pledge was intended to fund efforts to communicate




1
 A one-page summary of the Validate the Vote 2020 plan that Ms. Engelbrecht provided to Plaintiff is attached
hereto as Exhibit 1.

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Defendant’s findings via the contemplated litigation. Plaintiff advised he would contribute more

as the project progressed.

   15.     Subject to those conditions, Plaintiff wired $2 million to Defendant on November 5,

2020, using wiring instructions provided by Ms. Engelbrecht.

   16.     Ms. Engelbrecht inferred to Plaintiff that the legal expenses might exceed the initial

budget. In order to maintain what he thought the momentum, on November 13th, Plaintiff agreed

to give Defendant an additional $500,000, subject to the same condition that those funds would be

used to fund Defendant’s Validate the Vote 2020 efforts.

   17.     Subject to those conditions, Plaintiff wired $500,000 to Defendant on November 13,

2020, using wire instructions provided by Ms. Engelbrecht.

   18.     Time was of the essence to the efforts outlined in Defendant’s Validate the Vote 2020

plan because of various state and federal deadlines for certification of state election results and

electoral college votes.

   19.     After agreeing to conditionally give Defendant funds to support its Validate the Vote

2020 efforts, Plaintiff regularly and repeatedly sought substantive updates from Ms. Engelbrecht

and other individuals associated with Defendant. Specifically, Plaintiff sought specific and

actionable updates regarding progress on Defendant’s purported investigation, litigation, and

communication efforts in key states.

   20.     Plaintiff’s requests were consistently met with vague responses, platitudes, and empty

promises of follow-up that never occurred.

   21.     Specifically, in response to requests for specific and data relating to potential

whistleblowers and how their allegations fit into an overall narrative, Ms. Engelbrecht would

simply respond with vague comments like: “We are vetting” or “They are solid.”



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   22.       Ms. Engelbrecht also routinely ignored repeated requests for memoranda and written

reports to summarize Defendant’s efforts to identify and obtain information from whistleblower

witnesses.

   23.       In response to questions about Defendant’s litigation strategy in the seven key

battleground states targeted by the Validate the Vote 2020 initiative, Plaintiff was only ever

provided with four complaints filed in Wisconsin, Michigan, Georgia, and Pennsylvania. He was

not provided any specific update on the status or strategy behind those cases. Nor was he provided

any explanation as to the status of litigation in the remaining three states.

   24.       Defendant failed to consult with or inform Plaintiff of that decision even though that

decision amounted to a material deviation from the Validate the Vote 2020 plan that Plaintiff

conditioned his gifts upon.

   25.       Defendant’s consistent delay and inability to make progress on the goals that Ms.

Engelbrecht described to Plaintiff just after the election suggested that many of those goals might

not be met since many important deadlines relating to state election results were rapidly

approaching.

   26.       Given Defendant’s lack of progress on the goals articulated in its Validate the Vote

2020 plan and the rapidly approaching certification deadlines, plaintiff decided to call a meeting

with Ms. Engelbrecht and other individuals associated with Defendant’s Validate the Vote effort.

   27.       Specifically, Plaintiff sought detailed information and reports on voter data that

Defendant had collected, identities of any alleged whistleblowers (along with the information they

would testify to and their vetting status), the entities and resources dedicated to performing

statistical analysis on available voter data, the expected timeline to obtain such statistical analysis,

the status and strategy update for the litigation in each of the seven battleground states, Defendant’s



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promises to provide media content for circulation, and Defendant’s efforts to raise the remaining

money to fund the project.

   28.      That meeting took place by teleconference on November 16 and was attended by

Plaintiff, Ms. Engelbrecht, and Mr. Bopp, among others.

   29.      The November 16 meeting unfolded in a manner similar to the many others that had

taken place regarding the Validate the Vote 2020 efforts since November 5—which is to say that

Ms. Engelbrecht and Mr. Bopp failed to engage with or respond to Plaintiff’s requests for specific,

actionable updates on the issues set forth above and proposed plans to accomplish all of the efforts

he had originally agreed to fund.

   30.      According to PACER records in the various district courts, Defendant voluntarily

dismissed all of the four pending pieces of litigation it was pursuing on November 16.

   31.      Upon information and belief, Plaintiff further understands, upon information and

belief, that the decision to abandon those cases was made in concert with counsel for the Trump

campaign.

   32.      Defendant undertook to voluntarily dismiss its four active litigation matters without

consulting or informing Plaintiff of that decision even though that decision amounted to a material

deviation from the scope of the Validate the Vote 2020 program upon which Plaintiff’s gifts were

conditioned.

   33.      By November 16, it had become clear to Plaintiff that Defendant’s delays and inability

to make progress on its stated goals meant that it would be unable to execute on the Validate the

Vote 2020 efforts that Plaintiff had agreed to fund.




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    34.      Since Defendant had failed to comply with the conditions on Plaintiff’s gift, Plaintiff

sent an e-mail to Ms. Engelbrecht on Defendant’s behalf early on November 17, 2020, to request

a refund of the balance of his $2.5 million contribution. In relevant part, that e-mail read:

                  Please wire the balance of my contributions to my account as shown below.
                  Also send a full accounting of all monies spent out of the $2.5M, which
                  should be de minimis since nothing was accomplished over the 10 or so
                  days. Thank you for a prompt response.2

    35.      Consistent with its conduct over the preceding 12 days, Defendant failed to respond to

Plaintiff’s request.

    36.      In light of the upcoming vote certification deadlines and his desire to use the funds he

had conditionally gifted to Defendant to support other election-related efforts, Plaintiff sent Ms.

Engelbrecht another e-mail requesting repayment early on November 19. In relevant part, that e-

mail read:

                  Please acknowledge receipt of my previous email with wiring instructions
                  to return the bulk of the money I put in. This is needed immediately for
                  other activities toward the common goal.3

    37.      Again, Defendant failed to respond to Plaintiff’s request.

    38.      Given Defendant’s repeated refusal to respond to Plaintiff’s request for repayment,

counsel for Plaintiff sent a letter to Defendant on November 21 regarding the “directed donations

that [Plaintiff] made to True the Vote, Inc. in the two weeks following the election, totaling $2.5

million.” Specifically, that letter requested that Defendant confirm before 7:00 p.m. EST on

November 22 that it intended to return Plaintiff’s $2.5 million in conditional gifts and that it would

undertake to initiate a wire transfer to do so by 10:00 a.m. on November 23.4




2
  A true and accurate copy of Plaintiff’s November 17, 2020 e-mail (with redactions to protect Plaintiff’s financial
information) is attached hereto as Exhibit 2.
3
  A true and accurate copy of Plaintiff’s November 19, 2020 e-mail is attached hereto as Exhibit 3.
4
  A true and accurate copy of the November 21 letter from Plaintiff’s counsel is attached hereto as Exhibit 4.

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    39.      Ms. Engelbrecht responded by e-mail after 5:30 p.m. the next day, but did not confirm

that Plaintiff intended to return Plaintiff’s money.

    40.      Instead, Defendant continued to engage in dilatory tactics, claiming without any

specificity that it did not “expect to have complete information on what [it had] spent on the project

this month until next month,” that it had “made commitments to many people, including

whistleblowers, that [it] must fulfill,” and that it had “committed to activities that we must

complete.”5

    41.      Nonetheless, Defendant’s response did acknowledge that Plaintiff’s gifts had been

conditioned on their use in support of Defendant’s Validate the Vote 2020 efforts. Specifically,

Ms. Engelbrecht assured Plaintiff’s counsel that Defendant had “spent the money on the project

we discussed with Mr. Eshelman.”

    42.      Shortly thereafter on November 22, Plaintiff’s counsel responded by e-mail, noting in

relevant part:

                  Mr. Eshelman expects a wire of at least $2 million first thing in the morning
                  [of November 23]. Based on the limited reports that he has received, we
                  cannot believe that True the Vote has committed more than $500,000.6

    43.      As it had already done three times before, Defendant again refused to respond and

failed to initiate a wire transfer of Plaintiff’s funds by 10:00 a.m. EST.

    44.      In light of Defendant’s failure to wire the requested funds, Plaintiff (through counsel)

sent one final demand letter to Defendant on November 23.7 In that letter, Plaintiff notified




5
  A true and accurate copy of Ms. Engelbrecht’s November 22 e-mail message is attached hereto as Exhibit 5.
6
  A true and accurate copy of Plaintiff’s counsel’s November 22 e-mail message is attached hereto as Exhibit 6.
7
  A true and accurate copy of Plaintiff’s counsel’s November 23 demand letter (omitting the originally attached
exhibits which are merely duplicative of materials already attached to Plaintiff’s complaint) is attached hereto as
Exhibit 7.

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Defendant that if it failed to initiate wire transfer of the requested $2 million before 5 p.m., Plaintiff

would be forced to seek judicial intervention to obtain the requested funds.

       45.     Thirty minutes after that deadline, Mr. Bopp responded to Plaintiff’s counsel’s letter

on his law firm’s letterhead (as opposed to Defendant’s). In that letter, Defendant offered to return

$1 million of Plaintiff’s $2.5 million in conditional gifts in exchange for a waiver of claims and an

agreement not to file suit against Defendant.8

       46.     As of the time of the filing of this Verified Complaint, Defendant has still not initiated

any wire transfer to Plaintiff.

       47.     In light of Defendant’s refusal to engage with Plaintiff’s reasonable requests, Plaintiff

fears that Defendant may be currently disposing (or may already have disposed) of the Plaintiff’s

funds in support of unrelated projects or bad-faith expenditures supposedly in support of the

Validate the Vote 2020 project.

       48.     While Plaintiff is forced to litigate to obtain what is rightfully his, relevant deadlines

are rapidly approaching. Each day that passes makes it less likely that Plaintiff will be able to use

the funds Defendant is wrongfully withholding for the purpose he initially intended them to be

used—that is, to support efforts to investigate allegations of illegal and fraudulent conduct in

connection with the 2020 general election.

                                                    COUNT I
                                               Breach of Contract

       49.     Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

       50.     The parties, for valuable consideration, entered into an enforceable oral contract on

November 5, 2020, whereby Plaintiff would make a gift of $2 million to Defendant in exchange


8
    A true and accurate copy of Mr. Bopp’s November 23 letter is attached hereto as Exhibit 8.

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for Defendant’s commitment to undertake the specific efforts referred to by Ms. Engelbrecht and

in the Defendant’s marketing materials as the Validate the Vote 2020.

   51.     The parties subsequently amended or restated the terms of the original oral agreement

on November 13, 2020 when Plaintiff agreed to make an additional $500,000 gift to Defendant on

the condition that those funds would also be used solely to fund Defendant’s Validate the Vote

2020 project.

   52.     The parties mutually understood that if Defendant deviated from the Validate the Vote

2020 plan as described to Plaintiff by Ms. Engelbrecht and in Defendant’s marketing materials,

that Plaintiff would have the right to revoke his conditional gift.

   53.     As set forth above, Defendant has abandoned its efforts to implement and execute the

programs and efforts associated with its Validate the Vote 2020 initiative.

   54.     Consistent with Texas law, Plaintiff has repeatedly notified Defendant of his intent to

revoke his conditional gift due to Defendant’s failure to comply with its obligations under the

parties’ gift agreement. See Oadra v. Stegall, 871 S.W.2d 882, 891-92 (Tex. App. 1994); Yates v.

Blake, 491 S.W.2d 751, 754 (Tex. App. 1973).

   55.     Faced with Plaintiff’s requests and its own failure to abide by the terms of the parties’

agreement, Defendant’s refusal to surrender possession of $2.5 million of Plaintiff’s funds

amounts to a material breach of the parties’ agreement.

   56.     Defendant’s breach has caused Plaintiff to suffer damages in excess of $2.5 million.

   57.     Plaintiff has retained counsel to represent him in this matter and has agreed to pay

reasonable and necessary attorney’s fees, costs, and expenses. Plaintiff is entitled to recover his

reasonable and necessary attorney’s fees, costs, and expenses pursuant to section 38.001 of the

Texas Civil Practice and Remedies Code.



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                                               COUNT II
                                              Conversion

   58.     Plaintiff incorporates by reference all allegations in all paragraphs of the Verified

Complaint as though fully set forth herein.

   59.     Where a donor manifests his intent to revoke a conditional gift for failure to satisfy a

condition of the gift, title to the originally gifted property remains vested in the donor. See Oadra

v. Stegall, 871 S.W.2d 882, 891-92 (Tex. App. 1994); Yates v. Blake, 491 S.W.2d 751, 754 (Tex.

App. 1973).

   60.     Plaintiff has repeatedly notified Defendant of his intent to revoke his conditional gift

of $2.5 million due to Defendant’s failure to comply with its obligations under the parties’ gift

agreement – that is, its failure to implement and execute the Validate the Vote 2020 program.

   61.     Despite Plaintiffs’ repeated notice of his revocation of his conditional gifts, Defendant

has persisted in wrongfully withholding $2.5 million in Plaintiff’s money.

   62.     Defendant’s unauthorized and wrongful exercise of control over Plaintiff’s $2.5 million

to the exclusion of Plaintiff’s superior claim to those funds amounts to conversion.

   63.     Defendant’s commission of the tort of conversion has caused Plaintiff to suffer

damages in excess of $2.5 million

                                           COUNT III
                                      Declaratory Judgment

   64.     Plaintiff incorporates by reference all allegations in all paragraphs of the Verified

Complaint as though fully set forth herein.

   65.     As set forth above, Plaintiff has effectively revoked his conditional gifts totaling $2.5

million to Defendant on the basis of Defendant’s failure to abide by the condition on those gifts –

namely, that Defendant would implement and execute the plans incorporated into its Validate the

Vote 2020 initiative.

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   66.     Having issued a valid revocation of a conditional gift, Plaintiff remains the rightful

owner of the $2.5 million that was initially given as a conditional gift to Defendant.

   67.     Accordingly, Plaintiff is entitled to a declaratory judgment that he is the rightful owner

of the $2.5 million at issue in this litigation and an order requiring Defendant to immediately

transfer possession to Plaintiff. See Tex. Civ. Prac. & Remedies Code §§ 37.004, 37.011.

   68.     Plaintiff has retained counsel to represent him in this matter and has agreed to pay

reasonable and necessary attorney’s fees, costs, and expenses. Plaintiff is entitled to recover his

reasonable and necessary attorney’s fees, costs, and expenses pursuant to section 37.009 of the

Texas Civil Practice and Remedies Code.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Fredric N. Eshelman prays that this Honorable Court would grant
the following relief:

   1. An order declaring Mr. Eshelman to be the rightful owner of the $2.5 million conditionally
      given to Defendant and requiring Defendant to immediately surrender possession of those
      funds to Mr. Eshelman;

   2. A temporary restraining order or other injunctive relief to preserve the status quo and to
      prohibit Defendant from disbursing any portion of Mr. Eshelman’s $2.5 million in
      conditional gifts while this litigation is pending;

   3. An award of contractual and economic damages of $2.5 million, at a minimum;

   4. An award of Mr. Eshelman’s attorney’s fees and costs;

   5. An award of pre- and post-judgment interest;

   6. All other relief that the Court deems just and proper.




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                                           Verification

        I, Fredric N. Eshelman, verify under penalty of perjury that I have read the above complaint
and its contents. I also verify under penalty of perjury that, to the best of my knowledge and
recollection, the matters stated in the complaint are true and correct.

Executed on November    J:{,2020.




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                               Respectfully submitted,

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